        Case 1:21-cr-00053-CJN Document 109 Filed 05/11/23 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                                     FOR THE
                              DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         :      1:21-CR-00053-CJN
                                                 :
V.                                               :
                                                 :
EDWARD JACOB LANG                                :      MAY 11, 2023

                           NOTICE OF APPEARANCE

       The undersigned gives notice of his appearance on behalf of the

Defendant, Edward Jacob Lang.

                                                        THE DEFENDANT

                                                 By: /s/ NORMAN A. PATTIS /s/
                                                         NORMAN A. PATTIS
                                                         PATTIS & SMITH, LLC
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                             CERTIFICATION OF SERVICE

       The undersigned hereby certifies that, on the above-captioned date, a copy of the

foregoing was filed electronically and served by mail on anyone unable to accept

electronic filing. Notice of this filing will be sent by email to all parties of record by

operation of the Court’s electronic filing system or by mail to anyone unable to accept

electronic filing. Parties may access this filing through the Court’s system.

                                                        /s/ Norm Pattis /s/
